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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                            Case Number: 18-24073-LMI
JUNE E WEATHERS
      Debtor
____________________________/

NOTICE OF WITHDRAWAL OF MOTION TO DISMISS CASE OTHER FOR FAILURE TO
TIMELY PROVIDE THE TRUSTEE WITH DEBTOR'S FEDERAL TAX RETURN (ECF #25)

         Nancy N Neidich, Standing Chapter 13 Trustee ("Trustee"), files this Notice of

Withdrawal of her Motion to Dismiss Case Other for Failure to Timely Provide the Trustee with

Debtor's Federal Tax Return as the Debtor provided the Trustee with his 2017 tax return before

the meeting of creditors was held.

                                              RESPECTFULLY SUBMITTED:

                                                     NANCY K. NEIDICH, ESQUIRE
                                                     STANDING CHAPTER 13 TRUSTEE
                                                     P.O. BOX 279806
                                                     MIRAMAR, FL 33027-9806

                                                     By: /s/___________________
                                                     G Amy E. Carrington, Esq.
                                                     Senior Staff Attorney
                                                     FLORIDA BAR NO: 101877


SERVICE INFO

CAROLINA A LOMBARDI, ESQ
